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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION

MELISSA BEAM,                            §
                                         §
      Plaintiff,                         §
                                         §
v.                                       §   No. 3:19-cv-01201-M-BT
                                         §
CALIBER HOME LOANS, INC. et al.          §
                                         §
      Defendants.                        §
                                         §
                                         §

        ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND
     RECOMMENDATIONS OF THE UNITED STATES MAGISTRATE
                          JUDGE

      The Court has under consideration the Findings, Conclusions, and

Recommendations of United States Magistrate Judge Rebecca Rutherford dated

September 7, 2021. (ECF Nos. 63, 64). The Court has made a de novo review of

those portions of the proposed Findings, Conclusions, and Recommendations to

which objections were made. The objections are overruled. The Court notes

specifically that Caliber submitted a declaration of Janar Harris, ECF 52-1, which

at App. Page 8, ¶ 14, says Caliber received Plaintiff’s November payment under the

TPP, due to be received in November, on December 3, 2018.

      SO ORDERED, this 28th day of September, 2021.




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